     Case 6:12-cr-10089-JTM   Document 580       Filed 04/02/13   Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.   12-10089
                                             )
GONZALO RAMIREZ,                             )
                                             )
                         Defendant.          )
                                             )

                              MEMORANDUM AND ORDER
        This case comes before the court on defendant Gonzalo Ramirez’
motion to dismiss.        (Doc. 544).    Co-defendants Pedro Garcia, Angel
Cerda, Juan Torres, and Andrew Gusman move to join in Ramirez’ motion.
(Docs. 546, 548, 550, 558).             The motions to join are granted.
Ramirez’ motion to dismiss has been fully briefed and is ripe for
decision. (Doc. 565). The motions are denied for the reasons herein.
I.      Facts
        On April 16, 2012, the grand jury returned a 38-count indictment
against 23 defendants.        All defendants are alleged in count 1 to be
members of a criminal organization, the Nortenos gang.                  However, only
eight defendants are charged in count 1 with being a participant in
the overall RICO conspiracy in violation of 18 U.S.C. § 1962(d).
Count 1 of the indictment alleges the members of the Nortenos gang
engaged in narcotics distribution and acts of violence involving
murder and robbery committed in Dodge City, Kansas.                   The indictment
further alleges that the racketeering conspiracy began in 2008 and
continued through the date of the indictment.                In Counts 2-12, 14-21,
23, 24, 26-28 and 38, some of the defendants are charged with VICAR
     Case 6:12-cr-10089-JTM     Document 580    Filed 04/02/13    Page 2 of 4




offenses in violation of various sections of 18 U.S.C. § 1959.                       The
remaining counts generally charge drug and weapons violations.
II.    Analysis
       Ramirez is charged in counts 1 through 13 of the indictment.1
Ramirez argues that the indictment may violate the Double Jeopardy
Clause and should be dismissed.              Ramirez’ argument is difficult to
follow.      Ramirez states that he is uncertain whether any of the VICAR
counts set forth in the indictment are the predicate acts listed in
count 1 and requests that the court order the government to specify
its “theory,” i.e. to identify the two predicate offenses underlying
the RICO conspiracy charged in Count 1.             The government responds that
it has provided defendants with all discovery relating to alleged
crimes that qualify as predicate acts.              Notably, both Ramirez and the
government fail to cite United States v. Randall, 661 F.3d 1291 (10th
Cir. 2011) and United States v. Harris, 695 F.3d 1125 (10th Cir. 2012)
and United States v. Cornelius, 696 F.3d 1307 (10th Cir. 2012), cases
which discuss the elements of a § 1962(d) RICO conspiracy.
       In Randall, the Tenth Circuit specifically addressed the issue
of predicate acts following the United States Supreme Court decision
in Salinas v. United States, 522 U.S. 52 (1997).                  The Circuit agreed
with some of its sister circuits and held that the specific predicate
acts that a defendant agreed to commit need not be alleged or proved
for a section 1962(d) offense.           Randall, 661 F.3d at 1297.              Rather,
“a    jury   need   only   be    unanimous     as   to   the     types   of     predicate

       1
       Garcia is charged in counts 1 through 9 of the indictment.
Cerda and Torres are charged in counts 10 through 13 of the
indictment.   Gusman is charged in counts 19 through 22 of the
indictment.

                                         -2-
   Case 6:12-cr-10089-JTM   Document 580   Filed 04/02/13   Page 3 of 4




racketeering acts that the defendant agreed to commit, not to the
specific predicate acts themselves.” Id. at 1299 (emphasis supplied).
Therefore, the government does not have to identify the two predicate
offenses underlying count 1.
     Ramirez further argues that a “successive prosecution double
jeopardy issue” would arise if his previous drug conviction for which
he is currently serving a sentence is a predicate act for the charge
in count 1.     (Doc. 544 at 6).       Ramirez is incorrect.          The Tenth
Circuit has held that “Congress envisioned that a RICO conviction and
sentence could be based upon a predicate crime for which the defendant
has already been punished.”      United States v. Hampton, 786 F.2d 977,
980 (10th Cir. 1986).
     Finally, Ramirez asserts that the charges in the indictment are
multiplicious and violate the Double Jeopardy Clause because they
charge a conspiracy in one count and the substantive offense in the
subsequent count.      “[T]he government may prosecute successively a
conspiracy and the substantive offenses it encompasses. This rule has
been interpreted to allow prosecution of a defendant once for a RICO
conspiracy and thereafter for the predicate offense constituting a
pattern of racketeering activity.” United States v. Saccoccia, 18 F.3d
795, 798 (9th Cir. 1994), cert. denied, 116 S. Ct. 1322 (1996)(citing
United States v. Esposito, 912 F.2d 60, 66 (3d Cir. 1990), cert.
dismissed, 111 S. Ct. 806 (1991)); see also Hampton, 786 F.2d at 980.
Ramirez has not cited any authority which overrules these cases or the
additional cases cited by the government.          (Doc. 565 at 13-14).
     Therefore, the RICO conspiracy charged in count 1 can include the
allegations contained in the substantive offenses.               Moreover, the

                                     -3-
  Case 6:12-cr-10089-JTM   Document 580    Filed 04/02/13   Page 4 of 4




government does not violate the Double Jeopardy Clause by alleging
both a VICAR conspiracy and a VICAR substantive offense.                  United
States v. Johnson, 977 F.2d 1360, 1371 (10th Cir. 1992)(It “is well
settled that commission of a substantive offense and a conspiracy to
commit it are separate crimes.”)
III. Conclusion
     Ramirez’ motion to dismiss is denied.          (Doc. 544).


     IT IS SO ORDERED.
     Dated this    2nd     day of April 2013, at Wichita, Kansas.


                                          s/ Monti Belot
                                          Monti L. Belot
                                          UNITED STATES DISTRICT JUDGE




                                    -4-
